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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    Highland Capital Management, L.P.,1                      Case No. 19-12239 (CSS)

                                     Debtor.


             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that Jefferies LLC (“Jefferies”) hereby appears in the above-

captioned case through its co-counsel, Dentons US LLP and Ashby & Geddes, P.A., and, pursuant

to Rules 2002, 9007 and 9010 of the Federal Rules of Bankruptcy Procedure and 11 U.S.C. §§

102(1), 342 and 1109(b), requests that all notices given or required to be given in this case or any

related adversary proceeding and all papers served or required to be served in this case be given

and served upon:

    DENTONS US LLP                                          DENTONS US LLP
    Patrick C. Maxcy, Esq.                                  Lauren Macksoud, Esq.
    233 South Wacker Drive                                  1221 Avenue of the Americas
    Suite 5900                                              New York, NY 10020-1089
    Chicago, IL 60606-6361                                  Tel: (212) 768-6700
    Tel: (312) 876-8000                                     Fax: (212) 768-6800
    Fax: (312) 876-7934                                     Email: lauren.macksoud@dentons.com
    Email: patrick.maxcy@dentons.com

    ASHBY & GEDDES, P.A.
    William P. Bowden, Esq.
    500 Delaware Avenue, 8th Floor
    P.O. Box 1150
    Wilmington, DE 19899-1150
    Tel: (302) 654-1888
    Fax: (302) 654-2067
    Email: wbowden@ashbygeddes.com


             PLEASE TAKE FURTHER NOTICE that this request for notice and service includes



1
  The Debtor's last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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copies of all papers, including, but not limited to, reports, pleadings, motions, applications or

petitions, schedules, plans, disclosure statements, and answering or reply papers filed in these cases

or any related adversary proceeding and that such service be by mailing one copy of each, unless

otherwise directed by the Court, to the parties listed above.

         PLEASE TAKE FURTHER NOTICE that Jefferies intends that neither this Notice of

Appearance nor any former or later pleading, claim or suit shall waive (1) the right to have final

orders in non-core matters entered only after de novo review by the United States District Court

for the District of Delaware (the “District Court”), (2) the right to trial by jury in any proceeding

so triable in this case or any case, controversy or proceeding related to this case, (3) the right to

have the District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal or (4) any other rights, claims, actions, defenses, set-offs, or recoupments to which

Jefferies is or may be entitled under agreements in law or in equity.




                                        [Signature Page to Follow]




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Dated: November 4, 2019               ASHBY & GEDDES, P.A.

                                      /s/ William P. Bowden
                                      William P. Bowden, Esq. (#2553)
                                      500 Delaware Avenue, 8th Floor
                                      P.O. Box 1150
                                      Wilmington, Delaware 19899-1150
                                      Tel: (302) 654-1888
                                      Fax: (302) 654-2067
                                      Email: wbowden@ashbygeddes.com

                                      -and-

                                      DENTONS US LLP
                                      Patrick C. Maxcy, Esq.
                                      233 South Wacker Drive
                                      Suite 5900
                                      Chicago, IL 60606-6361
                                      Tel: (312) 876-8000
                                      Fax: (312) 876-7934
                                      Email: patrick.maxcy@dentons.com

                                      Lauren Macksoud, Esq.
                                      1221 Avenue of the Americas
                                      New York, NY 10020-1089
                                      Tel: (212) 768-6700
                                      Fax: (212) 768-6800
                                      Email: lauren.macksoud@dentons.com


                                      Counsel to Jefferies LLC




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